Case 1:16-CV-00322-BRB-KB|\/| Document 1 Filed 04/20/16 Page 1 of 9

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

JOSHUA JOHNSON,

Plaintiff,
No.

V.

THE UNITED STATES OF AMERICA,
RAMAH NAVAJ() POLICE DEPARTMENT,
BRENDALYN BEGAY,
DEPARTMENT OF THE INTERIOR,
BUREAU OF INDIAN AFFAIRS,
CHARLES VANOSDELL,
DEPARTMENT OF HOMELAND SECURITY,
AND JOHN/JANE DOES 1- 6,

Defendants.

COMPLAINT TO REC()VER DAMAGES
F()R DEPRIVATION OF CIVIL RIGHTS AND TORT CLAIMS

Plaintiff, Joshua Johnson, brings this Cornpiaint for violation of his civil rights under the
Fourteenth Amendment to the United States Constitution and 42 U.S.C. Section 1983 and
Seetion 1988 seeking to redress the Vioiations of his Constitutional Rights under the United
States and New Mexico Constitutions and other claims under the F ederal Tort Ciaims Aet and
New Mexico laW, and by and through his attorneys of record, Carter & Valle Law Firm (Richard
Valle, Matthew Zamora and Andrea Harris) and Law Office of Barry Kiopfer P.C. (Barry

Klopfer), and for his cause of action against the Defendants, states as follows:
Parties, Jurisdiction and Venue x

1. Plaintiff Joshua Johnson is an individual and a resident of Cibola County, Navajo

Nation, State of New Mexico.

Case 1:16-CV-00322-BRB-KB|\/| Document 1 Filed 04/20/16 Page 2 of 9

2. Defendant Ramah Navajo Police Department is a municipality and governmental
entity Within the State of Nevv Mexico (“Ramah Police”). At all times relevant hereto, the
Ramah Police was responsible for the operations of the Ramah Police Department and Was
responsible for the training and supervision of its police officers

3. On information and belief, Defendant Brendalyn Begay, (hereinafter “Officer
Defendant”) Was at all pertinent times employed as an officer With the Ramah Police
Department, and at all times relevant hereto, Was acting under the color of lavv.

4. On information and belief, Office Defendant had a BIA badge

5. On information and belief, Defendant Charles VanOsdell Was at all pertinent
times employed as an officer With the Ramah Police Department, and at all times relevant hereto,
Was acting under the color of laW.

6. On information and belief, Defendant VanOsdell had a BIA badge

7. On information and belief, Defendant Charles VanOsdell Was at all pertinent
times employed as an officer With the Department of Homeland Security, and at all times
relevant hereto, Was acting under the color of laW.

8. On information and belief, Defendant Department of the lnterior is an agency as
defined in 5 U.S.C. § 701, and responsible for providing ti‘aining, oversight and superintendence
of federally recognized lndian tribes, including its police departments

9. On information and belief, Defendant Bureau of lndian Aft`airs is an agency as
defined in 5 U.S.C. § 701, and responsible for providing training, oversight and superintendence

of federally recognized lndian tribes, including its police departments

Case 1:16-CV-00322-BRB-KB|\/| Document 1 Filed 04/20/16 Page 3 of 9

lO. On information and belief, Defendant Department of Homeland Security is an
agency as defined in 5 U.S.C. § 701, and responsible for providing training, oversight and
superintendence of federally recognized lndian tribes, including its police departments

ll. On information and belief, Defendants John/Jane Doe 1-6 are unknown agents,
servants, independent contractors or employees of the Ramah Police Department that in whole or
in part contributed to the events set forth herein.

l2. Plaintiff had a Fourth and Fourteenth Amendment right against excessive force.

13. Jurisdiction is conferred on this Court by virtue of the Federal Tort Claims Act,
28 U.S.C. Section 1346, 28 U.S.C. Section 2671 et seq. and 28 U.S.C. Section 1331.

14. Plaintiff has complied with all jurisdictional requirements of suit, including the
giving of notice via Form 95 on a timely basis and filing suit within an appropriate time as
Plaintiff s claim Was denied.

l5. Defendant is the United States of America.

16. Jurisdiction is proper pursuant to 28 U.S.C. Sections 1331 and 1343 and 42

U.S.C. Section 1983. Venue is proper in this District as the acts complained of occurred in New

Mexico.
F acts Common To All Counts

l7. Plaintiff hereby incorporates all prior allegations as if they were stated herein in

full.

18. On or about April 24, 2014, Defendant Van 0sdell was head of operations and
conducted the briefing at the Ramah Navajo Police Department, which covered the operation of

Federal warrant service for an individual, not Plaintiff

Case 1:16-CV-00322-BRB-KB|\/| Document 1 Filed 04/20/16 Page 4 of 9

19. Defendant VanOsdell provided the Ramah Navajo Police Department, including
Officer Defendant, instructions on how to serve the Federal warrant.

20. On or about April 24, 2014, Defendant Officer, visible with badge of office and in
full uniform of the Ramah Navajo Police Department, participated in apprehending a fugitive
through service of a Federal warrant for a person who was not the Plaintiff

2l. Plaintiff was not a person of concern or suspected of any crime when officers
went onto the subject property.

22. On or about April 24, 2014, while providing assistance with warrant service,
Defendant Officer engaged in the unauthorized and unjustified use of deadly force against non-

fugitive Plaintiff who was unarmed and non-combative.

23. On or about April 24, 2014, Plaintiff exited his residence, unarmed without any
sharp objects or weapons, obeying any directions from law enforcement, when Defendant

Officer or another officer shot Plaintiff

24. Plaintiff did not pose an immediate threat to the safety of Defendant Officer or

any other officer at the residence

25. At no point did Plaintiff disobey or refuse an order from an identified police

officer.

26. After injuring Plaintiff, Officer Defendant ran behind the wall of the carport

located on the premises

27. The Officer Defendant or another officer used excessive force against Plaintiff

when she opened fire, shooting and injuring him.

28. Officer Defendant’s actions were Willful, wanton, and in gross and reckless

disregard for Plaintiffs rights

Case 1:16-CV-00322-BRB-KB|\/| Document 1 Filed 04/20/16 Page 5 of 9

29. The actions of Defendants caused damages to Plaintiff
30. The United States of America also had a duty to comply with its own, rules,

regulations and laws on excessive force.

COUNT I: EXCESSIVE USE ()F FORCE IN VIOLATION OF
AMENDMENT IV OF THE U.S. CONSTITUTION and TITLE 42 USC SECTION 1983

31. Plaintiff hereby incorporates all prior allegations as if they were stated herein in
full.

32. Plaintiff has and had a Fouith Amendment right to be free of excessive use of
force.

33. Defendants, through the Officer Defendant or another officer deprived Plaintiff of

his right to be free of unreasonable and excessive force by opening fire when he exited his

residence

34. The force used by the Officer Defendant or another officer Was objectively

unreasonable under the circumstances

35. The actions of the Officer Defendant or another officer were willful, wanton, and

in gross and reckless disregard for Plaintiff’ s rights
36. The actions of Officer Defendant or another officer caused damages to Plaintiff.

37. Plaintiff brings his Section 1983 claim against the foicer Defendant or another

officer in her individual capacity.

38. At all times material hereto, Officer Defendant or another officer was acting

under the color of the law.

39. The foicer Defendant or another officer used excessive force against Plaintiff

when she opened fire, shooting and injuring him.

Case 1:16-CV-00322-BRB-KB|\/| Document 1 Filed 04/20/16 Page 6 of 9

40. Defendant Ramah Navajo Police Department, Defendant Department of the
Interior, Defendant Bureau of lndian Affairs, and Defendant Department of Homeland Security
are each separately liable for failing to train, manage and supervise its officers

COUNT II: TORT CLAIMS

41. Plaintiff restates each of the allegations above as if stated fully herein.

42. Under the facts as previously alleged, Defendants’ excessive and unnecessary use
of force against the Plaintiffs constituted battery under state law.

43. Defendant Ramah Navajo Police Department, Defendant Department of the
lnterior, Defendant Bureau of lndian Affairs, and Defendant Department of Homeland Security
are each separately liable under the theory of respondeat superior for the battery committed by
the Off`icer Defendant or another officer.

44. The actions of all Defendants caused damages to Plaintiffs.

COUNT III: NEGLIGENCE

45. Plaintiff incorporates all prior allegations as if set forth herein in full.

46. foicer Defendant and any other officers had a duty to exercise ordinary care in
interactions with Plaintiff

47. Officer Defendant or another officer had a duty to avoid placing others such as
Plaintiff in danger and to prevent injuries and damages

48. Officer Defendant or another officer breached her duties by failing to properly
observe the situation, exercise ordinary care in the operating a gun and by failing to obey all
laws

49. Officer Defendant or another officer’s actions and omissions constitute

negligence as stated herein.

Case 1:16-CV-00322-BRB-KB|\/| Document 1 Filed 04/20/16 Page 7 of 9

5(). Officer Defendant or another officer’s actions and omissions constitute behavior
that rises to the level of being reckless or utterly indifferent

51. Defendant United States is responsible for the actions and inactions of employees
of the United States

52. Officer Defendant or another officer’s breach of duty as set forth herein, directly
caused Plaintiff to suffer damages in the form of bodily injury, pain and suffering, emotional
distress, loss of enjoyment of life and medical expenses, in an amount to be determined at trial.

53. Defendant Ramah Navajo Police Department, Defendant Department of the
lnterior, Defendant Bureau of lndian Affairs, and Defendant Department of Homeland Security
are each separately liable under the theory of respondeat superior for the negligence of the
Officer Defendant

54. Defendants are liable for the damages caused.

COUNT V: NEGLIGENT HIRING, TRAINING AND SUPERVISION
55. Plaintiff restates each of the allegations above as if stated fully herein.
56. Defendant Ramah Police Department was the employer of Officer Defendant or

another officer.

57. Defendant Department of the Interior was the employer of Officer Defendant or

another officer.

58. Defendant Bureau of lndian Affairs was the employer of Officer Defendant or

another officer.

59. Ramah Police Department Was responsible with hiring, training, and supervising

its employees, including Officer Defendant or another officer.

Case 1:16-CV-00322-BRB-KB|\/| Document 1 Filed 04/20/16 Page 8 of 9

60. Defendant Department of the lnterior was responsible with hiring, training, and
supervising its employees, including Officer Defendant or another officer.

61. Defendant Bureau of lndian Affairs was responsible with hiring, training, and
supervising its employees, including Officer Defendant or another officer.

62. Defendant Department of Homeland Security and Defendant VanOsdell were
responsible with training and supervising officers under their operation.

63. Defendant Ramah Police Department was responsible with implementing and
enforcing safety policies and standards

64. Defendant Department of the Interior was responsible with implementing and

enforcing safety policies and standards

65. Defendant Bureau of lndian Affairs was responsible with implementing and

enforcing safety policies and standards

66. Defendant Department of Homeland Security and Defendant VanOsdell were
responsible with implementing and enforcing safety policies and standards
67. Defendants knew or should have known that the hiring, training, and supervision

of foicer Defendant or another officer created an unreasonable risk of injury to a group or class

that includes Plaintiff.

68. Defendants failed to use ordinary care in the hiring, training, and supervision of
Officer Defendant or another officer.

69. Defendants’ negligence in the hiring, training, and supervision Was a cause of

Plaintiff's injuries and damages

7(). Defendants’ negligence, as set forth herein, directly caused Plaintiff to suffer

damages in the form of bodily injury, past and future medical expenses, pain and suffering,

Case 1:16-CV-00322-BRB-KB|\/| Document 1 Filed 04/20/16 Page 9 of 9

emotional distress, loss of enjoyment of life, nature, extent and duration of injury, punitive
damages attorney’s fees, costs, and any other available damages in an amount to be determined
at trial.
71. Plaintiff demands a jury to the extent these claims may be tried before a juiy.
WHEREFORE, Plaintiff prays that he be awarded Compensatory damages in an as yet
undetermined amount jointly and severally against all Defendants; interest and punitive damages
in an as yet undetermined amount against Defendants as allowed by law; reasonable costs and

attorney’s fees incurred in bringing this action; and such other and further relief the Court deems

just and proper.

Respectfully submitted,
CARTER & VALLE LAW FIRM, P.C.

By: /s/ Richard J. Valle
Richard J. Valle
Matthew J'. Zamora
Andrea D. Harris
8012 Pennsylvania Circle NE
Albuquerque, NM 871 10
(505) 888-4357

And

Barry Klopfer

Law Office of Barry Klopfer, P.C.
224 W. Coal Ave

Gallup, New Mexico 87301

(505) 722-9331

